                   Case 1:14-cr-00179-LJO-SKO Document 15 Filed 08/28/14 Page 1 of 5
 AO 199A (Rev. 12/11) Order Setting Conditions of Release                                                  Page 1 of   3   Pages



                                       UNITED STATES DISTRICT COURT
                                                                      for the
                                                            Eastern District of California
                                                                                                          FILED
                                                                                                                AUG 2 8 2014
                                                                                                        CLERK, U.S. DISTRICT COURT
                     United States of America                             )                          EASTERN DISTRICT OF CALIFORNIA
                                                                                                     BY    -=--~
                                v.                                        )                               c:.   .VUTYCEtP=
                                                                          )        Case No. 1:14-cr-00179-LJO-SKO
                     JAMIE LYNE SANCHEZ                                   )
                               Defendant
                                                                          )

                                        ORDER SETTING CONDITIONS OF RELEASE

 IT IS ORDERED that the defendant's release is subject to these conditions:

 (1)     The defendant must not violate federal, state, or local law while on release.

 (2)     The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § 14135a

 (3)     The defendant must advise the court or the pretrial services office or supervising officer in writing before making
         any change of residence or telephone number.

· ( 4)   The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
         the court may impose.

         The defendant must appear at:             United States Courthouse, 2500 Tulare Street, Fresno, CA
                                                                                             Place
         Courtroom 7 (SKO) before Magistrate Judge Sheila K. Oberto

         on                                                          9/15/2014 1:00pm
                                                                         Date and Time

         If blank, defendant will be notified of next appearance.

 (5)     The defendant must sign an Appearance Bond, if ordered.
                   Case
AO I 998 (Rev. 09/08- EDCA1:14-cr-00179-LJO-SKO
                          [Fresno]) Additional Conditions of ReleaseDocument
                                                                    (General) 15             Filed 08/28/14 Page 2 of 5Page              m [JJof      Pages

SANCHEZ, Jamie Lyne
Dkt. No. 14-179-02

                                                ADDITIONAL CONDITIONS OF RELEASE
Upon finding that release by one of the above methods will not by itself reasonably assure the appearance of the defendant and the safety of other
persons and the community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

0     (6)         The defendant is placed in the custody of:

                        Name of person or organization         Patricia Bruton

            who agrees (a) to supervise the defendant in accordance with all conditions of release, (b) to use every effort to assure the appearance of the
            defendant at all scheduled court proceedings, and (c) to notify the court immediately in the event the defendant violates any conditions of
            release or disappear~

                        SIGNED:~~&$--
                                          CUSTODIAN
D     (7)         The defendant shall:
      0           (a)     report on a regular basis to the following agency:
                          Pretrial Services and comply with their rules and regulations;
                  (b)     report in person to the Pretrial Services Agency in Portland, Oregon, on the first working day following your release
                          from custody;
                  (c)     cooperate in the collection of a DNA sample;
                  (d)     reside at a location approved by the PSO, and not move or be absent from this residence without prior approval of
                          PSO; travel restricted to Oregon and to and from the Eastern District ofCA, for court-related purposes only, unless
                          otherwise approved in advance by PSO;
                  (e)     report any contact with law enforcement to your PSO within 24 hours;
                  (f)     maintain or actively seek employment, and provide proof thereof to the PSO, upon request;
                  (g)     refrain from possessing a firearm/ammunition, destructive device, or other dangerous weapon; additionally, you
                          shall provide written proof of divestment of all firearms/ammunition, currently under your control;
                  (h)     refrain from excessive use of alcohol, or any use of a narcotic drug or other controlled substance          without a
                          prescription by a licensed medical practitioner; and you shall notifY Pretrial Services immediately of any prescribed
                          medication(s). However, medical marijuana, prescribed or not, may not be used;
                  (i)     participate in a program of medical or psychiatric treatment including treatment for drug or alcohol dependency, as
                          approved by the PSO; you shall pay all or part of the costs of the counseling services based upon your ability to pay,
                          as determined by the PSO;
                  (j)     take all medications as prescribed by a licensed medical practitioner;
                  (k)     make efforts to locate your passport and, once found, you must surrender your passport to the Clerk, United States
                          District Court, within two weeks from release from custody, and obtain no passport during the pendency of this
                          case. If you are unable to locate your passport within two weeks from your release from custody, you must report
                          your passport lost or stolen to the U.S. Department of State and provide proof of notification to the PSO;
                  (I)     participate in the following Location Monitoring program component and abide by all the requirements of the
                          program, which will include having a location monitoring unit installed in your residence and a radio frequency
                          transmitter device attached to your person. You shall comply with all instructions for the use and operation of said
                          devices as given to you by the Pretrial Services Agency and employees of the monitoring company. You shall pay
                          all or part of the costs of the program based upon your ability to pay as determined by the PSO; Home Detention.
                          You are restricted to your residence at all times except for employment; education; religious services; medical,
                          substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other
                          activities pre-approved by the PSO;

                  USMS SPECIAL INSTRUCTIONS:
                  (m) have your release on bond delayed until Friday, August 29, 2014, at which time you will be released to the third
                      party custodian, who will drive your directly to her residence inAstoria, Oregon, where you will remain inside the
                      residence on lock-down status until such time that you report to Pretrial Services in Portland, Oregon, to have the
                      electronic monitoring device affixed to your ankle.
                   Case 1:14-cr-00179-LJO-SKO Document 15 Filed 08/28/14 Page 3 of 5
AO 199C (Rev. 09/08- EDCA [Fresno]) Advice of Penalties                                                  Page   3       of   3   Pages

                                           ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

       Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.
       While on release, ifyou commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.e., in addition to) to any other sentence you receive.
       It is a crime punishable by up to ten years in prison, and a $250,000 fme, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or
attempt to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or
intimidation are significantly more serious if they involve a killing or attempted killing.
       If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
       (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more- you will be fined
             not more than $250,000 or imprisoned for not more than 10 years, or both;
       (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years -you will be fined not
             more than $250,000 or imprisoned for not more than five years, or both;
       (3) any other felony- you will be fined not more than $250,000 or imprisoned not more than two years, or both;
       (4) a misdemeanor- you will be fined not more than $100,000 or imprisoned not more than one year, or both.
       A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                   Acknowledgment of the Defendant

       I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all
conditions of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions
set forth above.




                                                            =        ~~efendant's Signature




                                                Directions to the United States Marshal

( 0) The defendant is ORDERED released after processing.


Date:    ~~ U/1 ~
                                                          Jenmfer L. Thurston, U.S. Mag1strate Judge
                                                                                    Printed name and title




                    DISTRIBUTION:      COURT      DEFENDANT     PRETRIAL SERVICE   U.S. ATTORNEY         U.S. MARSHAL
                   Case 1:14-cr-00179-LJO-SKO Document 15 Filed 08/28/14 Page 4 of 5
AO 98 (Rev. 12/11- EDCA [Fresno]) Appearance Bond



                                   UNITED STATES DISTRICT COURT
                                                                   for the
                                                Eastern District of California
UNITED STATES OF AMERICA,
                                                                        )
                                                                        )
                                 v.
                                                                        )
                                                                                Case No.       1:14-cr-00179-LJO-SKO
                                                                        )
JAMIE LYNE SANCHEZ                                                      )
                             Defendant

                                          APPEARANCE AND COMPLIANCE BOND

                                                         Defendant's Agreement
I,   Jamie Lyne Sanchez                                          (defendant), agree to follow every order ofthis court, or any
court that considers this case, and I further agree that this bond may be forfeited if I fail:
            ( [8] ) to appear for court proceedings;
            ( [8] ) if convicted, to surrender to serve a sentence that the court may impose; or
            ( [8]) to comply with all conditions set forth in the Order Setting Conditions of Release.

                                                               Type of Bond
( [8] ) (1) This is a personal recognizance bond.

( 0 ) (2) This is an unsecured bond of$                                                       , with net worth of: $

( 0 ) (3) This is a secured bond of$                                                  , secured by:

        ( 0 ) (a) $                                   , in cash deposited with the court.

        ( 0 ) (b) the agreement of the defendant and each surety to forfeit the following cash or other property
                 (describe the cash or other property, including claims on it- such as a lien, mortgage, or loan- and attach proof of
                 ownership and value):



                 If this bond is secured by real property, documents to protect the secured interest may be filed of record.

        ( 0 ) (c) a bail bond with a solvent surety (attach a copy of the bail bond, or describe it and identify the surety):




                                                    Forfeiture or Release of the Bond

Forfeiture of the Bond This appearance bond may be forfeited if the defendant does not comply with the above
agreement. The court may immediately order the amount of the bond surrendered to the United States, including the
security for the bond, if the defendant does not comply with the agreement. At the request of the United States, the court
may order a judgment of forfeiture against the defendant and each surety for the entire amount of the bond, including
interest and costs.
                   Case 1:14-cr-00179-LJO-SKO Document 15 Filed 08/28/14 Page 5 of 5                                     Page2

AO 98 (Rev. 12/11- EDCA [Fresno]) Appearance Bond



Release of the Bond. The court may order this appearance bond ended at any time. This bond will be satisfied and the
security will be released when either: (1) the defendant is found not guilty on all charges, or (2) the defendant reports to
serve a sentence.

                                                         Declarations

Ownership of the Property/Net Worth. I, the defendant- and each surety- declare under penalty of perjury that:
         ( 1)      all owners of the property securing this appearance bond are included on the bond;
         (2)       the property is not subject to claims, except as described above; and
         (3)       I will not reduce my net worth, sell any property, allow further claims to be made against any property,
                   or do anything to reduce the value while this Appearance and Compliance Bond is in effect.

Acceptance. I, the defendant - and each surety - have read this appearance bond and have either read all the conditions
of release set by the court or had them explained to me. I agree to this Appearance and Compliance Bond.




I, the defendant- and each surety- declare under penalty of perjury that this information is true. (See 28 U.S.C.§ 1746.)


Date:
        - -8/27/2014
            -----
                                                                                      Defendant's signature




                Surety/property owner-printed name                          Surety/property owner- signature and date




                Surety/property owner -printed name                         Surety/property owner- signature and date




                Surety/property owner-printed name                          Surety/property owner- signature and date




                                                                CLERK OF COURT


Date: - -8/27/2014
          -----                                                  _.5L·c~ ha 0 0
                                                                                Signature of Clerk or Deputy Clerk

Approved.

Date:      ~~'ltj f ,
